              Case 1:22-cv-06336-VM Document 1 Filed 07/26/22 Page 1 of 32




    UNITED STATES DISTRICT COURT
    SOUTHERN DISTRICT OF NEW YORK
    –––––––––––––––––––––––––––––––––––––––––                    x
    Todd Miller, individually on behalf of himself               :
    and all others similarly situated,                           :
                                                                 :   Case No.
                     Plaintiff,                                  :
    v.                                                           :
                                                                 :
                                                                 :
    Beyond Meat, Inc.,                                           :          CLASS ACTION
                                                                 :           COMPLAINT
                                                                 :
                     Defendant.                                  :    JURY TRIAL DEMANDED
                                                                 :
                                                                 :

    –––––––––––––––––––––––––––––––––––––––––                    x

         Plaintiff, Todd Miller (hereinafter “Plaintiff”), individually and on behalf of all others

similarly situated, by his attorneys, alleges the following upon information and belief, except for

those allegations pertaining to Plaintiff, which are based on personal knowledge:

                                  NATURE OF THE ACTION

         1.      This action seeks to remedy the deceptive and misleading business practices of

Beyond Meat, Inc. (hereinafter “Defendant”) with respect to the marketing and sales of

Defendant’s Beyond Meat product line throughout the state of New York and throughout the

country. Defendant’s Beyond Meat product line includes, but is not limited to, the following

products (hereinafter the “Products”):

              ● Beyond Meat Sausage Plant-Based Dinner Links Hot Italian 14 oz;

              ● Beyond Meat Beyond Sausage Plant-Based Sausage Links Brat Original 14 oz;

              ● Beyond Meat Beyond Beef Plant-Based 16oz Patties;

              ● Beyond Meat Beyond Beef Plant-Based Ground Beef;



                                                 1
            Case 1:22-cv-06336-VM Document 1 Filed 07/26/22 Page 2 of 32




            ● Beyond Meat Beyond Breakfast Sausage Plant-Based Breakfast Patties Classic 7.4
              oz;

            ● Beyond Meat Beyond Meat Beyond Breakfast Sausage Plant-Based Breakfast
              Patties Spicy 7.4 oz;

            ● Beyond Meat Beyond Chicken Plant-Based Breaded Tenders Classic 8 oz;

            ● Beyond Meat Beyond Meatballs Italian Style Plant-Based Meatballs 12 ct. Classic
              10 oz; and

            ● Beyond Meat Beyond Breakfast Sausage Plant-Based Breakfast Links Classic 8.3
              oz.

       2.      Defendant manufactures, sells, and distributes the Products with front and back

labeling that describes the amount of protein contained in the Products, which is expressed in

grams per serving and as a “Daily Value” (hereinafter “DV”) percentage.

       3.      Examples of Defendant’s Products with these representations are depicted below:




                                               2
Case 1:22-cv-06336-VM Document 1 Filed 07/26/22 Page 3 of 32




                             3
Case 1:22-cv-06336-VM Document 1 Filed 07/26/22 Page 4 of 32




                             4
Case 1:22-cv-06336-VM Document 1 Filed 07/26/22 Page 5 of 32




                             5
Case 1:22-cv-06336-VM Document 1 Filed 07/26/22 Page 6 of 32




                             6
Case 1:22-cv-06336-VM Document 1 Filed 07/26/22 Page 7 of 32




                             7
Case 1:22-cv-06336-VM Document 1 Filed 07/26/22 Page 8 of 32




                             8
Case 1:22-cv-06336-VM Document 1 Filed 07/26/22 Page 9 of 32




                             9
Case 1:22-cv-06336-VM Document 1 Filed 07/26/22 Page 10 of 32




                             10
            Case 1:22-cv-06336-VM Document 1 Filed 07/26/22 Page 11 of 32




       4.       However, as explained in further detail below, testing has confirmed that

Defendant’s Products do not contain the amount of protein (both in grams per serving and DV

percentage) shown on the Products’ front and back labeling.

       5.       Reasonable consumers believe that products that claim to have a certain amount of

protein do indeed have the alleged serving and percentage of protein contained therein; however,

Defendant’s advertising and marketing campaign is false, deceptive, and misleading since the

Products contain less protein than stated on the Products’ front and back labeling.

       6.       Plaintiff and those similarly situated (hereinafter “Class Members”) relied on

Defendant’s misrepresentations regarding the amount of protein contained in the Products when

purchasing the Products. Plaintiff and Class Members overpaid and/or paid a premium for the

Products based upon these false and misleading representations and statements. Given that

Plaintiff and Class Members paid a premium price for Products based on Defendant’s

misrepresentations regarding the amount of protein contained therein and actually received less

protein per serving and DV percentage, Plaintiff and Class Members suffered an injury as a result

of Beyond Meat’s conduct, including that they purchased Beyond Meat’s Products (a) that were

worth less than the price they paid, (b) which they would not have purchased at all for this price

had they known the actual content of Beyond Meat’s products, and (c) which do not conform to

the Products’ labels, packaging advertising, and statements.

       7.       Defendant’s conduct violated and continues to violate, inter alia, New York

General Business Law §§ 349 and 350, and the consumer protection statutes of all 50 states.

Defendant breached and continues to breach its express and implied warranties regarding the

Products. Accordingly, Plaintiff brings this action against Defendant on behalf of himself and




                                                11
             Case 1:22-cv-06336-VM Document 1 Filed 07/26/22 Page 12 of 32




Class Members who purchased the Products during the applicable statute of limitations period (the

“Class Period”).

                                      FACTUAL BACKGROUND

        8.       Defendant manufactures, advertises, and sells plant-based meat substitute products,

akin to the Products, and describes itself as a “leader in plant-based meat” and as a “Revolutionary

Plant-Based Protein Leader.” 1

        9.       Companies such as Defendant have capitalized on consumers’ desire for purported

plant-based meat products that provide as much, if not more, protein, than regular meat. Indeed,

consumers are willing to pay, and have paid, a premium for plant-based meat protein products over

products that contain non-plant-based ingredients. In January 2022 it was projected that the plant-

based protein market will be worth $23.4 billion by 2028 2, which is almost twice as much of the

current $12.2 billion estimation. 3 Reasonable consumers, including Plaintiff and Class Members,

value plant-based protein products for important reasons, including the belief that they are safer

and healthier than alternative products that contain ingredients that are animal or petroleum based.

        10.      Moreover, as Defendant knows, protein is a vital part of every health diet and many

consumers seek out high-protein healthy alternative products to meat. This is even more so true

for vegans who face more of a challenge to obtain sufficient protein intake in their diets and

therefore seek out plant-based protein products akin to Defendant’s Products.

        11.      Defendant, being aware of this trend, engages in a marketing campaign that is

designed to attract reasonable consumers into thinking its Products are good plant-based protein




1
  https://investors.beyondmeat.com/news-releases/news-release-details/revolutionary-plant-based-protein-leader-
beyond-meatr-announces.
2
  https://www.globenewswire.com/en/news-release/2022/01/03/2360111/0/en/Plant-Based-Protein-Market-Worth-
23-4-Billion-By-2028-Exclusive-Report-by-Meticulous-Research.html.
3
  https://www.marketsandmarkets.com/Market-Reports/plant-based-protein-market-14715651.html.

                                                       12
          Case 1:22-cv-06336-VM Document 1 Filed 07/26/22 Page 13 of 32




source alternatives to traditional meat by teaming up with athletes that use the slogan,

“#FutureOfProtein,” 4 on its social media platforms. Examples of this marketing campaign are

depicted below:




4
 https://www.beyondmeat.com/en-US/whats-new/beyond-meat-teams-up-with-elite-athletes-to-plant-the-future-of-
protein#:~:text=At%20Beyond%20Meat%2C%20our%20plant,partners%20will%20lead%20the%20way.%22.

                                                     13
             Case 1:22-cv-06336-VM Document 1 Filed 07/26/22 Page 14 of 32




           12.      Unfortunately for targeted consumers, independent testing has confirmed that

Defendant’s Products do not contain the alleged and promised amount of protein.

           13.      Defendant engages in intensive protein focused marketing campaigns because it

knows that protein is a vital component of a healthy diet and necessary for normal bodily

functions. 5 Additionally, Defendant knows it is more difficult for vegans to find protein alternative

sources and is consciously trying to lure vegans into thinking its Products can provide them with

the protein their bodies need to operate at full capacity.

           14.      The Food and Drug Administration (hereinafter “FDA”), states, “Protein… is

necessary for proper growth and development, especially during childhood, adolescence, and

pregnancy. [It] helps your body build and repair cells and body tissue and is important for many

body processes, such as blood clotting, fluid balance immune response, vision, and production of

hormones, antibodies and enzymes.” 6

           15.      Further, according to the FDA, a high-protein diet provides additional benefits,

including appetite control, weight and body composition management, muscle growth and

maintenance, improved cardiometabolic health, better strength, improved immune function, and

faster tissue recovery. 7

           16.      Due to these aforementioned benefits from protein consumption, many consumers

seek high-protein products, like the misrepresented Products, to achieve a high-protein diet. This

is even more so true for consumers, like vegans, that look for meat alternatives to acquire needed

protein intake.




5
    https://www.piedmont.org/living-better/why-is-protein-important-in-your-diet.
6

https://www.accessdata.fda.gov/scripts/InteractiveNutritionFactsLabel/assets/InteractiveNFL_Protein_March2020.p
df.
7
  Id.

                                                          14
           Case 1:22-cv-06336-VM Document 1 Filed 07/26/22 Page 15 of 32




        17.      Consumers with specific health concerns, including pregnant and breastfeeding

people, or conditions that inhibit protein absorption, also require more protein than the daily

recommended minimum for average individuals 8, which is 56 grams per day of protein for the

average sedentary man and 46 grams of protein per day for the average sedentary woman per the

Dietary Reference Intake. 9

        18.      To that effect, the FDA mandates food manufacturers to publish a product’s

contents on its nutritional label, which includes the number of grams of protein per serving. 10

        19.      Most often the “Nitrogen Content Method” 11 is used to calculate the protein content

of a food product. Pursuant to this calculation, protein content is computed by using the factor of

6.25 times the nitrogen content of the food as prescribed by the “Official Methods of Analysis of

the AOAC International,” unless there is another official procedure for a specific food that requires

a different factor. 12

        20.      However, the nitrogen method is not the most accurate method to calculate protein

content. Consequently, federal law requires protein content to be determined through a more

rigorous testing system called the Protein Digestibility Amino Acid Corrected Score (hereinafter

“PDCAAS”) to compute the corrected amount of protein per serving in each product. 13

        21.      Per the PDCAAS, the corrected amount of protein gram per serving is equal to the

amount of protein gram per serving multiplied by the amino acid score corrected for protein




8
  Id.
9
  https://www.healthline.com/nutrition/how-much-protein-per-day.
10
   https://www.fda.gov/food/food-labeling-nutrition/menu-labeling-requirements.
11
   https://byjus.com/chemistry/kjeldahl-method/.
12
   https://www.aoac.org/about-aoac-international/.
13
   https://www.cerealsgrains.org/publications/plexus/cfw/pastissues/2018/Documents/CFW-63-5-0207.pdf.

                                                     15
          Case 1:22-cv-06336-VM Document 1 Filed 07/26/22 Page 16 of 32




digestibility, which is ascertained by methods provided in the “Protein Quality Evaluation, Report

of the Joint FAO/WHO Expert Consultation on Protein Quality Evaluation,” Rome, 1990. 14

        22.     Accordingly, as prescribed by federal law, Defendant must use the PDCAAS

calculation for the Products rather than a method of its choice, such as the “Nitrogen Content

Method” referenced above, even if commonly recognized. Moreover, any product making a

protein claim, like Defendant, must include a statement of protein content as percentage of the

Daily Reference Value, which is calculated by using the corrected amount of protein methodology.

        23.     The corrected amount of protein analysis does not come to its conclusions by

merely multiplying the amount of nitrogen by 6.25, as Defendant would like. Instead, the protein

content is calculated by accounting for the “protein quality value” of the product or the “protein

digestibility corrected amino acid score.” See 21 C.F.R. § 101.9(c)(7)(ii).

        24.     Consequently, so too here, Defendant’s Products’ protein content must be stated as

a DV percentage by using the corrected amount of protein analysis.

        25.     Using the PDCAAS method for calculating the amount of protein, independent

testing has revealed that Defendant has over-stated the amount of protein in its Products.

        26.     This testing, which confirmed Defendant’s Products contains less protein than

stated on the Products’ packaging and labeling, was conducted by two different independent U.S.

laboratories that separately conducted testing on a wide range of Defendant’s Products. The test

results from these two laboratories were consistent in that both results revealed Defendant’s

Products to contain significantly less protein that what was labeled on its front and back packaging.

        27.     Additional independent testing by Plaintiff’s counsel also confirmed that

Defendant’s Products contained less protein than advertised and marketed.                   Specifically,


14
  http://www.foodcompliance.com/Government_Connection/Label_Regulations/regulation.jsp?R=650; see also 9
C.F.R. 317.309.

                                                   16
          Case 1:22-cv-06336-VM Document 1 Filed 07/26/22 Page 17 of 32




independent testing of the Products revealed at least a 15-20% differential of protein content

between what is stated on the Products’ labeling as opposed to what is actually in the Products.

This discrepancy in protein content is harmful to the consumers in that they paid a premium price

for Products with the belief they contained more protein. 15

        28.     Thus, Defendant’s alleged protein amount and protein DV percentage are false and

misleading since the amount of protein determined by nitrogen in Defendant’s Products is a

mischaracterization of the actual amounts of protein contained in its Products and not an accurate

depiction of the actual amount of protein when utilizing calculation methods mandated by federal

law.

        29.     Through its deceptive advertising and labeling, Defendant has violated, inter alia,

NY General Business Law § 392-b by: a) putting upon an article of merchandise, bottle, wrapper,

package, label, or other thing containing or covering such an article, or with which such an article

is intended to be sold, or is sold, a false description or other indication of or respecting the kind of

such article or any part thereof; and b) selling or offering for sale an article which, to their

knowledge, is falsely described or indicated upon any such package or vessel containing the same,

or label thereupon, in any of the particulars specified.

        30.     Consumers rely on marketing and information especially the information and

representations on the packaging and labels in making purchasing decisions.

        31.     Defendants’ marketing and advertising campaign includes the one place that every

consumer looks when purchasing a product – the packaging and labels themselves. As such, a

reasonable consumer reviewing Defendants’ labels reasonably believes that they are purchasing a


15
  For example, Defendant’s Plant-Based 20 grams of protein “Beyond Burger” costs approximately $7.89. See,
https://www.doordash.com/convenience/store/2389715/product-details/1209939861/. However, Dr. Praeger’s
Plant-Based 20 grams of protein “Perfect Burger” costs approximately $5.99. See,
https://www.freshdirect.com/pdp.jsp?productId=fro_pid_3503647&catId=fro_meatl_burg.

                                                     17
             Case 1:22-cv-06336-VM Document 1 Filed 07/26/22 Page 18 of 32




product that contains the stated amount of protein. Indeed, consumers expect the nutritional facts

or information on the packaging and labels to accurately disclose the amount of protein within the

Products. Thus, reasonable consumers would not think that Defendants are misrepresenting the

amount of the protein in the Products.

        32.      By marketing the Products as having more protein content than they actually do,

and by placing these representations in prominent locations on the labels of the Products

throughout the Class Period, Defendant knows that these claims are material to consumers.

        33.      Defendant’s deceptive representations and omissions are material in that a

reasonable person would attach importance to such information and would be induced to act upon

such information in making purchase decisions.

        34.      Plaintiff and the Class Members reasonably relied to their detriment on Defendant’s

misleading representations and omissions regarding protein in Products.

        35.      Defendant’s false, misleading, and deceptive misrepresentations and omissions are

likely to continue to deceive and mislead reasonable consumers and the general public, as they

have already deceived and misled Plaintiff and the Class Members.

        36.      In making the false, misleading, and deceptive representations and omissions

described herein, Defendant knew and intended that consumers would purchase the Products and

pay a premium for products marketed as having certain amounts of protein over comparable

products not so marketed.

        37.      As an immediate, direct, and proximate result of Defendant’s false, misleading, and

deceptive representations and omissions, Defendant injured Plaintiff and the Class Members in

that they:




                                                 18
             Case 1:22-cv-06336-VM Document 1 Filed 07/26/22 Page 19 of 32




        a.       Paid a sum of money for Products that they would not have purchased had they

                 known the truth about the amount of protein in the Products;

        b.       Paid a sum of money for Products that were not what Defendant represented;

        c.       Paid a premium price for Products that were not what Defendant represented;

        d.       Were deprived of the benefit of the bargain because the Products they purchased

                 were different from what Defendant warranted; and

        e.       Were deprived of the benefit of the bargain because the Products they purchased

                 had less value than what Defendant represented.

        38.      Had Defendant not made the false, misleading, and deceptive representations and

omissions, Plaintiff and the Class Members would not have been willing to pay the same amount

for the Products they purchased and, consequently, Plaintiff and the Class Members would not

have been willing to purchase the Products.

        39.      Plaintiff and the Class Members paid for Products that had a certain amount of

protein and they believed were proven to have specified amounts of protein. Consequently, the

Products Plaintiff and the Class Members received was worth less than the Products for which they

paid.

        40.      Plaintiff and the Class Members all paid money for the Products; however, Plaintiff

and the Class Members did not obtain the full value of the advertised Products due to Defendant’s

misrepresentations and omissions. Plaintiff and the Class Members purchased, purchased more

of, and/or paid more for, the Products than they would have had they known the truth about the

Products. Consequently, Plaintiff and the Class Members have suffered injury in fact and lost

money as a result of Defendant’s wrongful conduct.




                                                 19
            Case 1:22-cv-06336-VM Document 1 Filed 07/26/22 Page 20 of 32




       41.      Plaintiff and Class Members read and relied on Defendant’s representations about

the benefits of using the Products and purchased Defendant’s Products based thereon. Had

Plaintiff and Class Members known the truth about the Products, i.e., that they do not have the

benefits they say they do (i.e., amounts of protein), they would not have been willing to purchase

it at any price, or, at minimum would have paid less for it.

                                    JURISDICTION AND VENUE

       42.      This Court has subject matter jurisdiction under the Class Action Fairness Act, 28

U.S.C. section 1332(d) in that: (1) this is a class action involving more than 100 class members;

(2) Plaintiff is a citizen of the state of New York, Defendant Beyond Meat, Inc. is a citizen of the

states of Delaware and California; and (3) the amount in controversy is in excess of $5,000,000,

exclusive of interests and costs.

       43.      This Court has personal jurisdiction over Defendant because Defendant conducts

and transacts business in the state of New York, contracts to supply goods within the State of New

York, and supplies goods within the state of New York.

       44.      Venue is proper because Plaintiff and many Class Members reside in the Southern

District of New York, and throughout the state of New York. A substantial part of the events or

omissions giving rise to the classes’ claims occurred in this District.

                                             PARTIES

Plaintiff

       45.      Plaintiff is an individual consumer who, at all times material hereto, was a citizen

of New York State. Plaintiff purchased the products at multiple supermarkets throughout New

York City, including Citarella’s supermarket, during the class period. The packaging of the

Products Plaintiff purchased contained the representations that they had greater amounts of protein



                                                 20
          Case 1:22-cv-06336-VM Document 1 Filed 07/26/22 Page 21 of 32




than they actually have based upon independent testing. Plaintiff believes that products that are

labeled with specific amounts of protein actually contain the amounts of alleged proteins. If the

Products actually had the amounts of stated proteins as represented on the Products’ label, Plaintiff

would purchase the Products in the immediate future.

       46.     Had Defendant not made the false, misleading, and deceptive representations that

the Products had the amounts of protein alleged Plaintiff would not have been willing to pay the

same amount for the Products, and, consequently, would not have been willing to purchase the

Products. Plaintiff purchased, purchased more of, and/or paid more for, the Products than he would

have had he known the truth about the Products. The Products Plaintiff received were worth less

than the Products for which he paid. Plaintiff was injured in fact and lost money as a result of

Defendant's improper conduct.

Defendant

       47.     Defendant, Beyond Meat, Inc., is a Delaware corporation with its principal place of

business in El Segundo, California. Defendant manufactures, markets, advertises and distributes

the Products throughout the United States.       Defendant created and/or authorized the false,

misleading and deceptive advertisements, packaging and labeling for the Products.

                                    CLASS ALLEGATIONS

       48.     Plaintiff brings this matter on behalf of himself and those similarly situated. As

detailed at length in this Complaint, Defendant orchestrated deceptive marketing and labeling

practices. Defendant’s customers were uniformly impacted by and exposed to this misconduct.

Accordingly, this Complaint is uniquely situated for class-wide resolution.

       49.     The Class is defined as all consumers who purchased the Products anywhere in the

United States during the Class Period (the “Class”).



                                                 21
            Case 1:22-cv-06336-VM Document 1 Filed 07/26/22 Page 22 of 32




       50.      Plaintiff also seeks certification, to the extent necessary or appropriate, of a subclass

of individuals who purchased the Products in the state of New York at any time during the Class

Period (the “New York Subclass”).

       51.      The Class and New York Subclass shall be referred to collectively throughout the

Complaint as the Class.

       52.      The Class is properly brought and should be maintained as a class action under Rule

23(a), satisfying the class action prerequisites of numerosity, commonality, typicality, and

adequacy because:

       53.      Numerosity: Class Members are so numerous that joinder of all members is

impracticable. Plaintiff believes that there are thousands of consumers in the Class and the New

York Class who are Class Members as described above who have been damaged by Defendant’s

deceptive and misleading practices.

       54.      Commonality: The questions of law and fact common to the Class Members which

predominate over any questions which may affect individual Class Members include, but are not

limited to:

       a.       Whether Defendant is responsible for the conduct alleged herein which was

                uniformly directed at all consumers who purchased the Products;

       b.       Whether Defendant’s misconduct set forth in this Complaint demonstrates that

                Defendant has engaged in unfair, fraudulent, or unlawful business practices with

                respect to the advertising, marketing, and sale of its Products;

       c.       Whether Defendant made false and/or misleading statements to the Class and the

                public concerning the contents of its Products;




                                                   22
            Case 1:22-cv-06336-VM Document 1 Filed 07/26/22 Page 23 of 32




       d.       Whether Defendant’s false and misleading statements concerning its Products were

                likely to deceive the public; and

       e.       Whether Plaintiff and the Class are entitled to money damages under the same

                causes of action as the other Class Members?

       55.      Typicality: Plaintiff is a member of the Class. Plaintiff’s claims are typical of the

claims of each Class Member in that every member of the Class was susceptible to the same

deceptive, misleading conduct and purchased Defendant’s Products. Plaintiff is entitled to relief

under the same causes of action as the other Class Members.

       56.      Adequacy: Plaintiff is an adequate Class representative because his interests do not

conflict with the interests of the Class Members he seeks to represent, his consumer fraud claims

are common to all members of the Class and he has a strong interest in vindicating his rights, he

has retained counsel competent and experienced in complex class action litigation, and counsel

intends to vigorously prosecute this action.

       57.      Predominance: Pursuant to Rule 23(b)(3), the common issues of law and fact

identified above predominate over any other questions affecting only individual members of the

Class. The Class issues fully predominate over any individual issue because no inquiry into

individual conduct is necessary; all that is required is a narrow focus on Defendant’s deceptive and

misleading marketing and labeling practices.

       58.      Superiority: A class action is superior to the other available methods for the fair

and efficient adjudication of this controversy because:

       a.       The joinder of thousands of individual Class Members is impracticable,

                cumbersome, unduly burdensome, and a waste of judicial and/or litigation

                resources;



                                                    23
     Case 1:22-cv-06336-VM Document 1 Filed 07/26/22 Page 24 of 32




b.       The individual claims of the Class Members may be relatively modest compared

         with the expense of litigating the claims, thereby making it impracticable, unduly

         burdensome, and expensive—if not totally impossible—to justify individual

         actions;

c.       When Defendant’s liability has been adjudicated, all Class Members’ claims can

         be determined by the Court and administered efficiently in a manner far less

         burdensome and expensive than if it were attempted through filing, discovery, and

         trial of all individual cases;

d.       This class action will promote orderly, efficient, expeditious, and appropriate

         adjudication and administration of Class claims;

e.       Plaintiff knows of no difficulty to be encountered in the management of this action

         that would preclude its maintenance as a class action;

f.       This class action will assure uniformity of decisions among Class Members; The

         Class is readily definable and prosecution of this action as a class action will

         eliminate the possibility of repetitious litigation;

g.       The Class is readily definable and prosecution of this action as a class action will

         eliminate the possibility of repetitious litigation;

h.       Class Members’ interests in individually controlling the prosecution of separate

         actions is outweighed by their interest in efficient resolution by single class action;

         and

i.       It would be desirable to concentrate in this single venue the litigation of all class

         members who were induced by Defendant’s uniform false advertising to purchase

         its Products providing certain amounts of protein.



                                            24
          Case 1:22-cv-06336-VM Document 1 Filed 07/26/22 Page 25 of 32




        59.     Accordingly, this Class is properly brought and should be maintained as a class

action under Rule 23(b)(3) because questions of law or fact common to Class Members

predominate over any questions affecting only individual members, and because a class action is

superior to other available methods for fairly and efficiently adjudicating this controversy.

                                                 CLAIMS

                                 FIRST CAUSE OF ACTION
                         VIOLATIONS OF NEW YORK GBL § 349
                   (On Behalf of Plaintiff and New York Subclass Members)

        60.     Plaintiff repeats and realleges each and every allegation contained in all the

foregoing paragraphs as if fully set forth herein.

        61.     New York General Business Law Section 349 (“GBL § 349”) declares unlawful

“[d]eceptive acts or practices in the conduct of any business, trade, or commerce or in the

furnishing of any service in this state . . .”

        62.     The conduct of Defendant alleged herein constitutes recurring, “unlawful”

deceptive acts and practices in violation of GBL § 349, and as such, Plaintiff and the New York

Subclass Members seek monetary damages.

        63.     Defendant misleadingly, inaccurately, and deceptively advertise and market the

Products to consumers.

        64.     Defendant’s improper consumer-oriented conduct (including labeling and

advertising the Products as including certain amounts of protien) is misleading in a material way

in that it, inter alia, induced Plaintiff and the New York Subclass Members to purchase and pay a

premium for Defendant’s Products and to use the Products when they otherwise would not have.

Defendant made its untrue and/or misleading statements and representations willfully, wantonly,

and with reckless disregard for the truth.



                                                   25
           Case 1:22-cv-06336-VM Document 1 Filed 07/26/22 Page 26 of 32




         65.   Plaintiff and the New York Subclass Members have been injured inasmuch as they

paid a premium for Products that (contrary to Defendant’s representations) do not have the amount

of alleged protein. Accordingly, Plaintiff and the New York Subclass Members received less than

what they bargained and/or paid for.

         66.   Defendant’s advertising and Products’ labeling induced Plaintiff and the New York

Subclass Members to buy Defendant’s Products and to pay a premium price for them.

         67.   Defendant’s deceptive and misleading practices constitute a deceptive act and

practice in the conduct of business in violation of New York General Business Law §349(a) and

Plaintiff and the New York Subclass Members have been damaged thereby.

         68.   As a result of Defendant’s recurring, “unlawful” deceptive acts and practices,

Plaintiff and the New York Subclass Members are entitled to monetary, statutory damages of $50

per unit sold, compensatory, treble and punitive damages, restitution, and disgorgement of all

moneys obtained by means of Defendant’s unlawful conduct, interest, and attorneys’ fees and

costs.

                              SECOND CAUSE OF ACTION
                        VIOLATION OF NEW YORK GBL § 350
                (On Behalf of Plaintiff and the New York Subclass Members)

         69.   Plaintiff repeats and realleges each and every allegation contained in all the

foregoing paragraphs as if fully set forth herein.

         70.   N.Y. Gen. Bus. Law § 350 provides, in part, as follows:

               False advertising in the conduct of any business, trade, or commerce
               or in the furnishing of any service in this state is hereby declared
               unlawful.

         71.   N.Y. Gen. Bus. Law § 350a(1) provides, in part, as follows:

               The term ‘false advertising, including labeling, of a commodity, or
               of the kind, character, terms or conditions of any employment

                                                 26
         Case 1:22-cv-06336-VM Document 1 Filed 07/26/22 Page 27 of 32




               opportunity if such advertising is misleading in a material respect.
               In determining whether any advertising is misleading, there shall be
               taken into account (among other things) not only representations
               made by statements, word, design, device, sound or any
               combination thereof, but also the extent to which the advertising
               fails to reveal facts material in the light of such representations with
               respect to the commodity or employment to which the advertising
               relates under the conditions proscribed in said advertisement, or
               under such conditions as are customary or usual . . .

       72.     Defendant’s labeling and advertisements contain untrue and materially misleading

statements concerning Defendant’s Products inasmuch as they misrepresent that the Products

contain certain amounts of protein.

       73.     Plaintiff and the New York Subclass Members have been injured inasmuch as they

relied upon the labeling, packaging, and advertising and paid a premium for the Products which

(contrary to Defendant’s representations) does not contain the amounts of alleged protein.

Accordingly, Plaintiff and the New York Subclass Members received less than what they

bargained and/or paid for.

       74.     Defendant’s advertising and Products’ labeling induced Plaintiff and the New York

Subclass Members to buy Defendant’s Products.

       75.     Defendant made its untrue and/or misleading statements and representations

willfully, wantonly, and with reckless disregard for the truth.

       76.     Defendant’s conduct constitutes multiple, separate violations of N.Y. Gen. Bus.

Law § 350.

       77.     Defendant made the material misrepresentations described in this Complaint in

Defendant’s advertising and on the Products’ labeling.




                                                 27
           Case 1:22-cv-06336-VM Document 1 Filed 07/26/22 Page 28 of 32




         78.   Defendant’s material misrepresentations were substantially uniform in content,

presentation, and impact upon consumers at large. Moreover, all consumers purchasing the

Products were and continue to be exposed to Defendant’s material misrepresentations.

         79.   As a result of Defendant’s recurring, “unlawful” deceptive acts and practices,

Plaintiff and New York Subclass Members are entitled to monetary, statutory damages of $500

per unit sold, compensatory, treble and punitive damages, restitution, and disgorgement of all

moneys obtained by means of Defendant’s unlawful conduct, interest, and attorneys’ fees and

costs.

                                THIRD CAUSE OF ACTION
                            BREACH OF EXPRESS WARRANTY
                         (On Behalf of Plaintiff and All Class Members)

         80.   Plaintiff repeats and realleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

         81.   Defendant provided Plaintiff and Class Members with an express warranty in the

form of written affirmations of fact promising and representing that the Products provide certain

amounts of protein.

         82.   The above affirmations of fact were not couched as “belief” or “opinion,” and were

not “generalized statements of quality not capable of proof or disproof.”

         83.   These affirmations of fact became part of the basis for the bargain and were material

to Plaintiff’s and Class Members’ transactions.

         84.   Plaintiff and Class Members reasonably relied upon Defendant’s affirmations of

fact and justifiably acted in ignorance of the material facts omitted or concealed when they decided

to buy Defendant’s Products.




                                                  28
         Case 1:22-cv-06336-VM Document 1 Filed 07/26/22 Page 29 of 32




       85.     Within a reasonable time after he knew or should have known of Defendant’s

breach, Plaintiff, on behalf of himself and Class Members, placed Defendant on notice of its

breach, giving Defendant an opportunity to cure its breach, which it refused to do.

       86.     Defendant thereby breached the following state warranty laws:

               a.     Code of Ala. § 7-2-313;

               b.     Alaska Stat. § 45.02.313;

               c.     A.R.S. § 47-2313;

               d.     A.C.A. § 4-2-313;

               e.     Cal. Comm. Code § 2313;

               f.     Colo. Rev. Stat. § 4-2-313;

               g.     Conn. Gen. Stat. § 42a-2-313;

               h.     6 Del. C. § 2-313;

               i.     D.C. Code § 28:2-313;

               j.     Fla. Stat. § 672.313;

               k.     O.C.G.A. § 11-2-313;

               l.     H.R.S. § 490:2-313;

               m.     Idaho Code § 28-2-313;

               n.     810 I.L.C.S. 5/2-313;

               o.     Ind. Code § 26-1-2-313;

               p.     Iowa Code § 554.2313;

               q.     K.S.A. § 84-2-313;

               r.     K.R.S. § 355.2-313;

               s.     11 M.R.S. § 2-313;



                                                29
Case 1:22-cv-06336-VM Document 1 Filed 07/26/22 Page 30 of 32




    t.    Md. Commercial Law Code Ann. § 2-313;

    u.    106 Mass. Gen. Laws Ann. § 2-313;

    v.    M.C.L.S. § 440.2313;

    w.    Minn. Stat. § 336.2-313;

    x.    Miss. Code Ann. § 75-2-313;

    y.    R.S. Mo. § 400.2-313;

    z.    Mont. Code Anno. § 30-2-313;

    aa.   Neb. Rev. Stat. § 2-313;

    bb.   Nev. Rev. Stat. Ann. § 104.2313;

    cc.   R.S.A. 382-A:2-313;

    dd.   N.J. Stat. Ann. § 12A:2-313;

    ee.   N.M. Stat. Ann. § 55-2-313;

    ff.   N.Y. U.C.C. Law § 2-313;

    gg.   N.C. Gen. Stat. § 25-2-313;

    hh.   N.D. Cent. Code § 41-02-30;

    ii.   II. O.R.C. Ann. § 1302.26;

    jj.   12A Okl. St. § 2-313;

    kk.   Or. Rev. Stat. § 72-3130;

    ll.   13 Pa. Rev. Stat. § 72-3130;

    mm.   R.I. Gen. Laws § 6A-2-313;

    nn.   S.C. Code Ann. § 36-2-313;

    oo.   S.D. Codified Laws, § 57A-2-313;

    pp.   Tenn. Code Ann. § 47-2-313;



                                     30
         Case 1:22-cv-06336-VM Document 1 Filed 07/26/22 Page 31 of 32




               qq.     Tex. Bus. & Com. Code § 2.313;

               rr.     Utah Code Ann. § 70A-2-313;

               ss.     9A V.S.A. § 2-313;

               tt.     Va. Code Ann. § 59.1-504.2;

               uu.     Wash. Rev. Code Ann. § 6A.2-313;

               vv.     W. Va. Code § 46-2-313;

               ww.     Wis. Stat. § 402.313; and

               xx.     Wyo. Stat. § 34.1-2-313.

       87.     Defendant breached the express warranty because the Products do not contain

certain amounts of protein.

       88.     As a direct and proximate result of Defendant’s breach of the express warranty,

Plaintiff and Class Members were damaged in the amount of the price they paid for the Products,

in an amount to be proven at trial.

                                        JURY DEMAND

       Plaintiff demands a trial by jury on all issues.

WHEREFORE, Plaintiff, on behalf of himself and the Class, prays for judgment as follows:

       (a)     Declaring this action to be a proper class action and certifying Plaintiff as the

               representative of the Class under Rule 23 of the FRCP;

       (b)     Awarding monetary damages and treble damages;

       (c)     Awarding statutory damages of $50 per transaction, and treble damages for

               knowing and willful violations, pursuant to N.Y. GBL § 349;

       (d)     Awarding statutory damages of $500 per transaction pursuant to N.Y. GBL § 350;

       (e)     Awarding punitive damages;



                                                  31
         Case 1:22-cv-06336-VM Document 1 Filed 07/26/22 Page 32 of 32




       (f)    Awarding Plaintiff and Class Members their costs and expenses incurred in this

              action, including reasonable allowance of fees for Plaintiff’s attorneys and experts,

              and reimbursement of Plaintiff’s expenses; and

       (g)    Granting such other and further relief as the Court may deem just and proper.



Dated: July 26, 2022

                                                                 Respectfully submitted,

                                                           THE SULTZER LAW GROUP P.C.

                                                               Jason P. Sultzer /s/
                                                    By: __________________________________
                                                                           Jason P. Sultzer, Esq.
                                                                              Joseph Lipari, Esq.
                                                                         Daniel Markowitz, Esq.
                                                                85 Civic Center Plaza, Suite 200
                                                                       Poughkeepsie, NY 12601
                                                                             Tel: (845) 483-7100
                                                                            Fax: (888) 749-7747
                                                               sultzerj@thesultzerlawgroup.com
                                                                liparij@thesultzerlawgroup.com
                                                           markowitzd@thesultzerlawgroup.com

                                                                     David C. Magagna Jr., Esq.
                                                                       Charles E. Schaffer, Esq.
                                                                  LEVIN SEDRAN & BERMAN
                                                                    510 Walnut Street, Suite 500
                                                                         Philadelphia, PA 19106
                                                                              Tel: 215-592-1500
                                                                        dmagagna@lfsblaw.com
                                                                         cschaffer@lfsblaw.com

                                                               Counsel for Plaintiff and the Class




                                               32
